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UNIVERSITY OF PITTSBURGH POLICY 05-08-01

CATEGORY:       FINANCIAL AFFAIRS
SECTION:         Resource Management
SUBJECT:        Personal Use of University Resources
EFFECTIVE DATE: May 1, 1995
PAGE(S):        2

I.   POLICY BACKGROUND

     The importance of personal integrity regarding University resources should not be
     minimized. Small savings throughout a large institution can add up to a meaningful
     number. Students, parents, donors, taxpayers, governmental agencies, etc., have
     expectations that University resources will be consumed in the support of the institution's
     mission. This policy will be successful if we are able to create an atmosphere of personal
     integrity and raise consciousness on this issue.

     We must be sensitive to the expectations of our constituents and avoid personal use of
     University resources when possible, and encourage and facilitate reimbursement when
     personal use is allowed or unavoidable. This policy is not intended to be punitive in nature.
     Blatant abuse can and should be detected and prevented by good management, even in
     the absence of a formalized policy. However, the existence of a formalized policy
     demonstrates the University's commitment to prudent fiscal operations.

     No policy can address all possible issues and situations. Hopefully the guidance and
     examples provided in this policy will help individuals resolve policy exceptions. Regardless
     of the situation, the basic concept to keep in mind is that personal use of University
     resources is inappropriate.

II. SCOPE

     This policy establishes the administrative responsibilities and general guidelines for the
     personal use of University resources. This would include use of the University's phone
     system, facsimile machines, copiers, office supplies, tools, equipment, and vehicles. It also
     discusses student and staff involvement in administrators' and faculty efforts.

     The use of University facilities, the University mail system, and University-owned computing
     equipment are excluded from this policy. See Policies 04-01-01 Extracurricular Use of
     University Facilities, 10-01-02 University Mail, and 10-02-05 Computer Access and Use.

III. POLICY

     Personal use of University resources is generally not permitted. However, when personal
     use of University resources is unavoidable, reimbursement should be made to the
     University.

     Administration

     The FAIS departmental administrators are responsible for monitoring compliance with this
     policy. These individuals should develop the applicable reimbursement and monitoring
     mechanisms relevant to the circumstances of their particular department. Cost/benefit
     factors should be considered when determining the need for formalized control and
     documentation requirements. Administrators may determine that nominal personal usage,
     for example less than one dollar of copying or telephone charges in a month, does not
     justify collection and deposit efforts. Requests for policy exception or conflict resolutions
     must move upward through each level of the reporting structure related to the individual
     desiring exception to this policy. Obvious abuse or non-compliance should be addressed
     with the employee by the employee's supervisor.

     Telephone and Facsimile Use
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Non-business-related long distance (toll) telephone and facsimile charges to University
accounts should be reimbursed to the institution by the employee initiating or responsible
for the call. Excessive non-business local calls and facsimile charges are also not
permitted.

FAIS departmental administrators should determine the timing of the required
reimbursements, e.g., monthly or quarterly, and the monitoring or control system to be
established based on the magnitude of the department's toll calls, e.g., honor system,
sign-up sheet, or formalized specific call identification.

Copier Use

Personal use of the University's copiers should be reimbursed to the University. Based on
volume and cost considerations, FAIS departmental administrators should determine
whether copier usage should be controlled by auditrons, vend-a-cards, sign-up sheets, or
an honor system.

Office Supplies, Tools, Equipment, and Vehicles

Office supplies should only be used for University business. Tools, equipment, and
University-owned vehicles may not be loaned for personal use.

Student and Staff Involvement in Administrators' or Faculty Efforts

Administrators and faculty are not to request/demand student or staff support for their
non-University activities. Inappropriate requests for student or staff support include but
are not limited to:

-   work related to private businesses or endeavors in which the administrator or faculty
    member realizes financial benefits;

-   community or recreational activities unrelated to the University's public service mission,
    e.g., little league teams or religious groups; and

-   purely social activities hosted by an administrator or faculty member even if attended
    by other University employees, e.g., weddings, birthdays, etc.

Student and staff support for speeches, papers, book manuscripts, non-paid community
service, etc., should only be requested if these activities have some relationship to the
administrators' or faculty members' responsibilities at the University. Personal work not
related to the University should be done by administrators, faculty, or staff themselves or
hired out by them at their own expense. This work is not to be done on University time or
utilizing University facilities under any circumstances.
